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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


ARNULFO FONSECA,                                           )
                                                           )
              Plaintiff,                                   )
                                                           )
       -vs-                                                )      NO. 08-435-CJP
                                                           )
CHARLES DAVID NELSON, KEITH BROWN,                         )
KEN CLORE, MARK LeVAUGHN, RANDY                            )
BUTLER, MIKE JONES, BRAD NEAL, DAVID                       )
BLAZIER, TODD FORT, STEVE SLOAN, MONA                      )
NELSON, SALINE COUNTY, SHERIFF’S OFFICE                    )
SALINE COUNTY, STATE’S ATTORNEY’S                          )
OFFICE SALINE COUNTY, and VILLAGE OF                       )
CARRIER MILLS,                                             )
                                                           )
              Defendants.                                  )



                            JUDGMENT IN A CIVIL CASE

       Defendants BRAD NEAL, DAVID BLAZIER, and VILLAGE OF CARRIER MILLS, were

dismissed on July 26, 2009 by an Order entered by United States District Judge Michael J. Reagan

(Doc. 148).

       Defendant MARK LeVAUGH was dismissed on September 10, 2009 by an Order entered

by United States District Judge Michael J. Reagan (Doc. 182).

       Defendants KEITH BROWN, KEN CLORE, RANDY BUTLER, MIKE JONES, TODD

FORT, STEVE SLOAN, MONA NELSON, SALINE COUNTY, SHERIFF’S OFFICE of SALINE

COUNTY, STATE’S ATTORNEYS OFFICE of SALINE COUNTY were dismissed on March 16,

2010 by an Order entered by United States Magistrate Judge Clifford J. Proud (Doc. 216).


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              IT IS HEREBY ORDERED AND ADJUDGED that judgment is entered in favor

of defendants CHARLES DAVID NELSON, KEITH BROWN, KEN CLORE, MARK

LeVAUGHN, RANDY BUTLER, MIKE JONES, BRAD NEAL, DAVID BLAZIER, TODD

FORT, STEVE SLOAN, MONA NELSON, SALINE COUNTY, SHERIFF’S OFFICE of

SALINE COUNTY, STATE’S ATTORNEY’S OFFICE of SALINE COUNTY and VILLAGE

OF CARRIER MILLS and against plaintiff ARNULFO FONSECA.

     Plaintiff shall take nothing from this action.

     DATED this 16th day of March, 2010

                                                      NANCY J. ROSENSTENGEL, CLERK

                                                      BY: S/ Angela Vehlewald
                                                             Deputy Clerk

Approved by       S/ Clifford J. Proud
              United States Magistrate Judge
                     Clifford J. Proud




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